
Mr. Justice Field
delivered the opinion of the court:
This was an action in the Court of Claims by the petitioner for pay and bounty as a soldier in the Army of the United States. It appears from the findings of the court that the petitioner enlisted in the Army for three years, and was enrolled on the 1st of January, 1864; that he was mustered into service on the 16th of the month, his service to take effect from the enrollment; that he deserted on the 12th of November following, and was arrested on the 2d of June, 1865, and was restored to duty with the loss of all pay and allowances due or to become due during the term of his enlistment, and that he was honorably discharged on the 8th of August, 1865. His claim was for pay for the whole period from his enlistment to his discharge, including the time of his absence by desertion, and for the bounty allowed to a soldier upon his honorable discharge at the expiration of his service.
The Court of Claims held that he was entitled both to pay and bounty, and gave judgment for the whole amount claimed, being of opinion that his offense of desertion was purged by his honorable discharge within the decision of this court in United States v. Kelly, (15 Wall. R., p. 34; 10 C. Cls. R., p. 110,) and that his case was not covered by the joint resolution of Congress of March 1, 1870.
We have looked into the record in Kelly’s Case, and we find it entirely different from this case. Kelly had served from February, 1864, until October, 1865, during the active operations of the war, and then deserted to visit his parents, reported to be seriously ill at their home. After an absence of some weeks he voluntarily returned, and subsequently made up for the time lost by his absence. The fact that the war had *195virtually closed at the time, the motives which caused the desertion, and his voluntary return to duty, no doubt had their influence with his commander, upon whose recommendation he was restored to duty without trial, subject only to the condition that he should make good the time lost by his desertion. It was not pretended that his honorable discharge subsequently granted gave him a right to pay during the period of his absence from the service, or would have dispensed with the forfeiture of pay prescribed by the Army Regulations had any pay been due at the time. (See Army Regulations, 158 and 1358.) He only claimed subsequent pay and the bounty, after serving the full period of his enlistment and the additional time lost by his desertion.
In this case the petitioner deserted at a time when the war was at its height, and no palliation was proffered for the offense, if any could possibly exist. He kept out of the service,, and thus out of danger, during the severest period of the war,, and was only returned to his company under arrest. And though he was restored to duty, it was with the forfeiture of his pay and allowances for the entire period of his enlistment.
It does not appear from the record before us whether this forfeiture was imposed by order of the commander of the forces from which he deserted, or by the judgment of the court-martial. Forfeiture of pay and allowances up to the time of desertion follows from the conditions of the contract of enlistment, which is for faithful service. The contract is an entirety, and if service for any portion of the time is criminally omitted, the pay and allowances for faithful service are not earned. And for the purpose of determining the rights of the soldier to receive pay and allowances for past services, the fact of desertion need not be established by the findings of a court-martial; it is sufficient to justify a withholding of the moneys that the fact appears upon the muster-rolls of his company. If the entry of desertion has been improperly made, its cancellation can be obtained by application to the War Department. But forfeiture of pay and allowances for future services, as a condition of restoration to duty, can only be imposed by a court-martial. (Winthrop’s Digest of Opinions of the Judge-Advocate General, p. 269, par. 27.) The validity of the forfeiture here is not raised by counsel. We must, therefore, presume, as the case is presented to us, that the petitioner was brought to trial *196for his offense before such a court and was convicted, and that the forfeiture imposed was the sentence of the court. 1
In Kelly’s Case, as already stated, the deserter was restored to duty without trial upon his voluntary return, and it was with reference to a case of that kind that the Judge-Advocate-General gave the opinion which is cited with approval by this court. Iu such a case an honorable discharge of the soldier, as held by that officer, dispensed with any formal removal of the charge of desertion from the rolls of his company, and amounted of itself to a removal of any impediment arising from the fact of desertion to his receiving bounty. But neither the Judge-Advocate-General nor this court, in adopting his opinion, went to the extent of holding that an honorable discharge of a soldier dispensed with all the conditions attached to his restoration to duty which a military tribunal may have imposed upon him for a previous military offense. An unconditional restoration, or one with conditions subsequently complied with, may leave the soldier who has deserted in as favorable condition for subsequent pay and bounty as though no offense had been committed by him. But it is otherwise when conditions inconsistent with such pay or bounty are attached to the restoration, or are imposed as a punishment for a previous military offense. Assuming that the conduct of the soldier in this case, subsequent to his restoration to duty, may have entitled him to an honorable discharge, and that such discharge was not inadvertently granted, the discharge could not relieve him from the consequences of the judgment of the military court, and entitle him to the pay and allowances which that court had adjudged to have been forfeited. The forfeiture must first be removed either by its remission in terms, or by the reversal of the judgment, or -the pardon of the President.
The bounty which the petitioner claimed was included in the allowances forfeited. Under the term “allowances” everything was embraced which could be recovered from the Government by the soldier in consideration of his enlistment and services, except the stipulated monthly compensation designated as pay. This is substantially the conclusion reached by the late Attorney-General, Mr. Hoar, after full consideration of the statutes bearing upon the question, (Opinions of Attorneys-General, vol. 13, pp. 198,199,) and such, we are informed, has been the uniform .ruling of the War Department.
*197The conclusion we have thus reached renders it unnecessary to determine whether the case of the petitioner is covered by the joint resolution of Congress of March 1, 1870, forbidding the payment of moneys withheld from a deserter from the volunteer forces, unless the record of his desertion has been canceled because made erroneously and contrary to the facts.
It follows, from the views expressed, that the judgment of the Court of Claims must be reversed, and the cause remanded with directions to dismiss the petition; and it is so ordered.
